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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

 STATE OF TEXAS, et ail.,

             Plaintiffs,

 v.                                                              2:24-CV-159-Z

 XAVIER BECERRA, et al.,

             Defendants.

                                                 NOTICE

        Before the Court is Plaintiffs’ Notice of Dismissal Without Prejudice under Federal Rule

of Civil Procedure 41(a)(1)(A)(i) (“Notice”) (ECF No. 35), filed November 22, 2024. A Rule

41(a)(1)(A)(i) notice is effective if filed “before the opposing party serves either an answer or a

motion for summary judgment.” FED. R. Civ. P. 41(a)(1)(A)(i). Defendants have not served an

answer or a motion for summary judgment.                A voluntary   dismissal of an action is “self-

effectuating ... no order or other action of the district court is required.” Jn re Amerijet Intern.,

Inc., 785   F.3d   967, 973   (Sth Cir. 2015).   This    Court has therefore   “los[t] jurisdiction.” Id.

Accordingly, the Clerk of the Court is DIRECTED             to close the case. All pending motions are

DENIED as MOOT.

        The Court issues notice accordingly.

       November 27 2024


                                                          MATTHEW J. KACSMARYK
                                                          UNITED STATES DISTRICT JUDGE
